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 6

 7                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 8                                  NORTHERN DIVISON

 9                                                       Case No. 5:19-cv-00371
10
                                                         COMPLAINT FOR DAMAGES
      JOLONDA L. BARNETT-WEST,
11
                                                         1. VIOLATION OF THE TELEPHONE
                       Plaintiff,
12                                                       CONSUMER     PROTECTION      ACT
             v.                                          PURSUANT TO 47 U.S.C. § 227.
13

14    WHEELS FINANCIAL GROUP, LLC d/b/a                  2. VIOLATION OF THE ROSENTHAL
      LOANMART,                                          FAIR DEBT COLLECTION PRACTICES
15                                                       ACT, CAL. CIV. CODE § 1788 ET SEQ.
                       Defendant.
16                                                       JURY TRIAL DEMANDED
17
                                             COMPLAINT
18
            NOW COMES, JOLONDA L. BARNETT-WEST (“Plaintiff”), through her counsel,
19
     WAJDA LAW GROUP, APC, complaining as to the conduct of WHEELS FINANCIAL GROUP,
20
     LLC d/b/a LOANMART (“Defendant”), as follows:
21

22                                        NATURE OF THE ACTION

23      1. Plaintiff brings this action seeking redress for violations of the Telephone Consumer
24   Protection Act (“TCPA”) pursuant to 47 U.S.C. §227 and violations of the Rosenthal Fair Debt
25
     Collection Practices Act (“RFDCPA”) pursuant to Cal. Civ. Code §1788.
26
                                         JURISDICTION AND VENUE
27
        2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
28
                                                     1
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 1       3. Subject matter jurisdiction is conferred upon this Court by the TCPA and 28 U.S.C. §§1331
 2   and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists
 3
     for the state law claim pursuant to 28 U.S.C. §1367.
 4
         4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 5
     in the Central District of California, Plaintiff resides in the Central District of California, and a
 6

 7   substantial portion of the events or omissions giving rise to the claims occurred within the Central

 8   District of California.

 9                                                    PARTIES
10       5. Plaintiff is a natural person over 18-years-of-age who is a “person” as the term is defined
11
     by 47 U.S.C. §153(39).
12
         6. Defendant is a financial services company. Defendant’s principle office is located at 15400
13
     Sherman Way, Suite 170, Van Nuys, California 91406.
14

15                                    FACTS SUPPORTING CAUSE OF ACTION

16       7. Prior to the conduct giving rise to this claim, Plaintiff obtained a title loan in the amount

17   $2,600.00 (“subject debt”) from Defendant.
18       8. Plaintiff was making timely payments on the subject debt until she could no longer afford
19
     paying the subject debt, resulting in default.
20
         9. In November 2018, Plaintiff made her last payment on the subject debt.
21
         10. In or around December 2018, Plaintiff began receiving pre-recorded calls and text messages
22

23   to her cellular telephone number (916) XXX-3756 from Defendant. Defendant also sent Plaintiff

24   emails. Defendant used such communication in order to collect on the subject debt.

25       11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, possessor,
26
     and operator of her cellular telephone ending in 3756.
27
         12. Immediately after the calls began, Plaintiff answered a phone call to her cellular telephone
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                                                         2
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 1   from Defendant. Plaintiff was greeted by a pre-recorded message stating, “Please hold for an
 2   important message.”
 3
        13. In December 2018, Plaintiff demanded Defendant to stop calling her and communicated to
 4
     Defendant that an attorney represents her. Plaintiff gave Defendant her attorney’s contact
 5
     information and again demanded that Defendant’s pre-recorded phone calls and text messages
 6

 7   cease.

 8      14. Plaintiff’s demands that Defendant’s per-recorded phone calls and text messages cease fell

 9   on deaf ears and Defendant continued its phone harassment campaign.
10
        15. Notwithstanding Plaintiff’s requests that Defendant’s automated pre-recorded calls and text
11
     messages cease, Defendant placed or caused to be placed numerous harassing pre-recorded calls
12
     and text messages to Plaintiff’s cellular telephone between December 2018 and present day.
13
        16. In the calls that Plaintiff did answer, Plaintiff was greeted by a noticeable period of “dead
14

15   air” followed by a pre-recorded message.

16      17. Specifically, there would be an approximate 2-second pause between the time Plaintiff said
17   “hello,” and the time that the pre-recorded message would play.
18
        18. Moreover, Plaintiff also heard what sounds to be call center noise in the background of
19
     Defendant’s live phone calls.
20
        19. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone
21

22   using an automated telephone dialing system that is commonly used in the debt collection industry

23   to collect defaulted debts.

24      20. The phone number that Defendant most often used to contact Plaintiff was (619) 325-1049,
25   but upon information and belief, it may have used other phone numbers to place calls to Plaintiff’s
26
     cellular telephone.
27

28
                                                      3
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 1                                                  DAMAGES
 2      21. Defendant’s unfair and harassing conduct has severely disrupted Plaintiff’s daily life and
 3
     general well-being.
 4
        22. Plaintiff has expended time consulting with her attorneys as a result of Defendant’s
 5
     unconscionable conduct.
 6

 7      23. Defendant’s phone harassment campaign and illegal collection activities have caused

 8   Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon and

 9   occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of
10
     personal injury resulting from the distraction caused by the phone calls, aggravation that
11
     accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of
12
     concentration, diminished value and utility of his telephone equipment and telephone subscription
13
     services, debilitating Plaintiff’s voicemail capacity, the wear and tear caused to her cellular
14

15   telephone, the loss of battery charge, the loss of battery life, and the per-kilowatt electricity costs

16   required to recharge her cellular telephone as a result of increased usage of her telephone services.
17          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
18
        24. Plaintiff restates and realleges paragraphs 1 through 23 as though fully set forth herein.
19
        25. Defendant placed or caused to be placed non-emergency calls, including but not limited to
20
     the calls referenced above, to Plaintiff’s cellular telephone using pre-recorded voice technology
21

22   without her prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

23      26. Based on the pre-recorded messages Plaintiff heard during the phone calls in which Plaintiff

24   answered, Defendant placed these aforementioned calls to Plaintiff using prerecorded voice
25   technology.
26
        27. Defendant violated the TCPA by placing frequent unsolicited automated pre-recorded
27
     phone calls to Plaintiff’s cellular telephone from December 2018 through the present day, using an
28
                                                        4
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 1   automated telephone dialing system (ATDS”) without her prior express or written consent.
 2      28. Any prior consent, if any, was revoked by Plaintiff’s numerous revocations and by Plaintiff
 3
     telling Defendant that she is represented by an attorney.
 4
        29. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to her cellular
 5
     telephone.
 6

 7      30. Upon information and belief, Defendant has no system in place to document and archive

 8   whether it has prior express or written consent to contact consumers.

 9      31. Upon information and belief, Defendant knew its collection practices were in violation of
10
     the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.
11
        32. The calls placed by Defendant to Plaintiff were regarding business activities and not for
12
     emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).
13
        33. Defendant, through its agents, representatives, vendors, subsidiaries, third party contractors,
14

15   and/or employees acting within the scope of their authority acted intentionally in violation of 47

16   U.S.C. §227(b)(1)(A)(iii).
17      34. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of
18
     $500.00 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing
19
     violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which
20
     Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).
21
     WHEREFORE, Plaintiff JOLONDA L. BARNETT-WEST respectfully requests that this
22
     Honorable Court:
23         a. Declare that the practices complained of herein are unlawful and violate the
24                aforementioned statute;

25          b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
                  pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
26
            c. Enjoining Defendant from contacting Plaintiff; and
27
            d. Award any other relief as the Honorable Court deems just and proper.
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                                                       5
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 1         COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
 2      35. Plaintiff restates and realleges paragraphs 1 through 34 as though fully set forth herein.
 3
        36. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
 4
        37. The alleged subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code §
 5
     1788.2(d) and (f).
 6

 7      38. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

 8                a. Violation of Cal. Civ. Code § 1788.11(d)

 9      39. The RFDCPA, pursuant to Cal. Civ. Code § 1788.11(d), states that a debt collector may not
10
     cause “a telephone to ring repeatedly or continuously to annoy the person called.”
11
        40. Defendant violated the RFDCPA when it continuously called Plaintiff’s cellular telephone
12
     after she notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s
13
     cellular telephone despite her demands was done with the purpose of annoying Plaintiff into paying
14

15   the subject debt.

16      41. Moreover, Defendant was told clearly to stop calling Plaintiff’s cellular telephone and that
17   she is represented by an attorney.
18
        42. Defendant disregarded these requests, and continued its calls to Plaintiff, with the goal of
19
     annoying Plaintiff into paying the subject debt.
20
                  b. Violations of RFDCPA § 1788.11(e)
21

22      43. The RFDCPA, pursuant to Cal. Civ. Code § 1788.11(e), states that a debt collector may not

23   communicate “by telephone or in person, with the debtor with such frequency as to be unreasonable

24   and to constitute a harassment to the debtor under the circumstances.”
25      44. Defendant violated the RFDCPA when it continuously called Plaintiff’s cellular telephone
26
     after she notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s
27
     cellular telephone despite her demands was unreasonable and harassing. The repeated contacts were
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                                                        6
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 1   made with the hope that Plaintiff would succumb to the harassing behavior and ultimately make a
 2   payment. The frequency and volume of calls, shows that Defendant willfully ignored Plaintiff’s
 3
     pleas with the intent of harassing her.
 4
        45. Furthermore, Defendant relentlessly contacted Plaintiff numerous times. Placing such
 5
     voluminous calls in short succession constitutes conduct that is unreasonable and harassing in an
 6

 7   attempt to harass Plaintiff into making payment in violation of the RFDCPA.

 8      46. Upon being told to stop calling, Defendant had ample reason to be aware that it should cease

 9   its harassing campaign of collection phone calls. Nevertheless, Defendant consciously chose to
10
     continue placing calls to Plaintiff’s cellular telephone.
11
     WHEREFORE, Plaintiff JOLONDA L. BARNETT-WEST respectfully requests that this
12
     Honorable Court:
13
            a. Declare that the practices complained of herein are unlawful and violate the
14
                aforementioned statute;
15
            b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
16
            c. Award Plaintiff statutory damages, pursuant to Cal. Civ. Code § 1788.30(b);
17          d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ.
18              Code § 1788.30(c); and
19          e. Award any other relief as the Honorable Court deems just and proper.

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 1                                      DEMAND FOR JURY TRIAL
 2           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
 3
     this action so triable of right.
 4
     Date: February 22, 2019                                      Respectfully submitted,
 5

 6

 7                                                                By: /s/ Nicholas M. Wajda

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